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                                                      February 14, 2023


The Honorable Jeremy D. Peterson
United States District Court Magistrate Judge
United States District Court for the
 Eastern District of California
Robert T. Matsui United States Courthouse
501 I Street
Sacramento, CA 95814

                 Re:      Thorco Projects A/S v. Nutrion Feeds North America, Inc.,
                          Case No.: 2:22-cv-01331-TLN-JDP

Dear Judge Peterson,

        We represent the defendant Nutrion Feeds North America, Inc., (“Nutrion”) in the
referenced matter. By Order dated February 7, 2023, District Judge Troy L. Nunley granted the
parties application for the approval of the sale of the cargo, which is the subject of the referenced
matter, be referred to your Honor. (ECF 37.)

       For background, this matter involves a maritime dispute. On July 29, 2022, Plaintiff
attached a cargo of perishable animal feed (the “Cargo”) belonging to Defendant, pursuant to an
Order and Process of Maritime Attachment and Garnishment. (ECF 6, 7). At the time of the
attachment, the Cargo was stored in a warehouse located at 710 Gilmore Avenue, Stockton,
California. Thereafter, at the request of Plaintiff, the Cargo was packed, loaded and moved to a
warehouse operated by Central Valley Ag Group LLC (CV-AG), where it remains. The cargo is
perishable, has been stored in a warehouse for nearly 9 months and is deteriorating. In addition,
some of the cargo was damaged upon arrival.

        On December 26, 2022, recognizing that the Cargo was perishable, deteriorating and
losing value, and that an arm-length sale of the Cargo would result in a higher sales price than a
judicial sale, the parties agreed to a Stipulation for the Sale of the Cargo (“Stipulation”), a copy
of which is attached. To protect Nutrion’s proprietary interest in the Cargo, the parties agreed as
part of the Stipulation that “the sale of the Cargo, the names of the third-party buyers, the
purchase prices and any and all details of the sale will be strictly confidential.” Stipulation, Para
4. To protect Thorco’s security interest in the Cargo, the parties agreed to “jointly request the
District Court Judge to appoint a Magistrate Judge to review all Third-party sales.” Stipulation,
Para 5.
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        Nutrion has agreed to sell the Cargo to a third-party purchaser. Accordingly, in
accordance with the Stipulation, Nutrion will be providing your Honor, under cover of an ex
parte letter as anticipated by the Stipulation, the relevant purchase and sale documents for your
Honor’s review and confirmation that the sale was an arms-length transactions and that the
Cargo was sold at market value for its present condition.

                                                     Very truly yours,




                                                     William R. Bennett, III
